                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 SCOTT PURRONE et al.,                        )
                                              )
           Plaintiffs,                        )
                                              )
 v.                                           )        NO. 3:17-cv-01472
                                              )
 WILLIAM A. SANGER et al.,                    )        JUDGE CAMPBELL
                                              )        MAGISTRATE JUDGE FRENSLEY
           Defendant.                         )



                                           ORDER

          Pending before the Court is the parties’ Unopposed Motion for Voluntary Dismissal

Without Prejudice (Doc. No. 44), indicating that all matters in dispute have been resolved.

Accordingly, this case is DISMISSED, without prejudice, and the Clerk is directed to close the

file.

          It is so ORDERED.

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                                                  WILLIAM L. CAMPBELL, JR.
                                                  UNITED STATES DISTRICT JUDGE




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